        Case 3:25-cr-02706-BLM                Document 19           Filed 07/15/25         PageID.40         Page 1 of 2
AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case


                                   UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                              V.                                    (For Offenses Committed On or After November 1, 1987)

                  Claudio Lopez-Gomez                                  Case Number:        25-cr-02706-BLM
                                                                    Erik Richard Bruner
                                                                    Defendant’s Attorney
REGISTRATION NO.              25531506


The Defendant:
☒ pleaded guilty to count(s)         ONE OF THE INFORMATION

☐ was found guilty on count(s)
     after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                    Nature of Offense                                                                 Number(s)
8 USC 1325                         IMPROPER ENTRY BY AN ALIEN (MISDEMEANOR)                                             1




    The defendant is sentenced is provided on page 2 of this judgment


☐ The defendant has been found not guilty on count(s)
☒ Count(s) TWO OF THE INFORMATION                             is   Dismissed without prejudice on the motion of the United States.

     Assessment : Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC
☒ 3013 is waived and remitted as uncollectible.


☒ No fine                    ☐ Forfeiture pursuant to order filed                                              , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any
material change in the defendant’s economic circumstances.

                                                                    July 15, 2025
                                                                    Date of Imposition of Sentence



                                                                    HON. BARBARA L. MAJOR
                                                                    UNITED STATES MAGISTRATE JUDGE


                                                                                                                  «Case_number»
      Case 3:25-cr-02706-BLM             Document 19        Filed 07/15/25       PageID.41       Page 2 of 2

DEFENDANT:               «Dft_Name»                                                              Judgment – Page 2 of 2
CASE NUMBER:             «Case_number»

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TIME SERVED




☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
☐     The court makes the following recommendations to the Bureau of Prisons:




☐     The defendant is remanded to the custody of the United States Marshal.

☐     The defendant shall surrender to the United States Marshal for this district:
      ☐     at                             A.M.              on
      ☐     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
☐
      Prisons:
      ☐     on or before
      ☐     as notified by the United States Marshal.
      ☐     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on                                            to

at                                       , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      «Case_number»
